

Curia.

The statute giving costs to the party prevailing in civil actions does not extend to proceedings of this kind. The silence of the statutes for regulating the method of laying out highways, in respect to the payment of costs by a party who rests satisfied with the report of the committee, is very reasonable. It would, without doubt, be inequitable to mulct him in costs, for what, at most, must be considered as a mistake in judgment of a committee, in whose appointment he had no voice, and over whose inquiries or report he had no control. But there is no provision of law authorizing him to recover costs.
The proceedings of the Sessions in this case must, therefore, be quashed, so far as they relate to the taxing of costs for the respondent against the corporation, and affirmed as to the rest.
